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 Fill in this information to identify the case:

B 10 (Supplement 2) (12/11)              (post publication draft)
 Debtor 1              Aaron Rene Salas
                       __________________________________________________________________

 Debtor 2               Barbara Sophia Salas
                        ________________________________________________________________
 (Spouse, if filing)

                                         Western
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                                                         (State)
 Case number            13-53476-cag
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                                        10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                  U.S. BANK TRUST NATIONAL ASSOCIATION, AS TRUSTEE OF THE Bungalow Series III TRUST                     Court claim no. (if known):
 Name of creditor:                ______________________________________                                                                5
                                                                                                                                        _________________
                                                                                                                       2 ____
                                                                                                                      ____ 9 ____
                                                                                                                               6 ____
                                                                                                                                    2
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                6923 Raintree Path
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  San Antonio, TX 78233
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

        Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.
        Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date                                       $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

        Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:                                           12    01 2018
                                                                                                              ____/_____/______
                                                                                                              MM / DD    / YYYY

        Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                                                 (a)   $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                                        +   (b)   $ __________
        c. Total. Add lines a and b.                                                                                                                (c)   $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became                                           ____/_____/______
        due on:                                                                                               MM / DD / YYYY


Form 4100R                                                                Response to Notice of Final Cure Payment                                             page 1
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Debtor 1        Aaron Rene Salas
                _______________________________________________________                                              13-53476-cag
                                                                                              Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
         all payments received;
         all fees, costs, escrow, and expenses assessed to the mortgage; and
         all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

         I am the creditor.
         I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               û /s/ Kristin A. Zilberstein
                   __________________________________________________
                   Signature
                                                                                              Date    12 24 2018
                                                                                                      ____/_____/________




 Print             Kristin A. Zilberstein
                   _________________________________________________________                  Title   Authorized Agent for Creditor
                                                                                                      ___________________________________
                   First Name                      Middle Name         Last Name




 Company           The Law Offices of Michelle Ghidotti
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           1920 Old Tustin Ave.
                   _________________________________________________________
                   Number                 Street


                   Santa Ana, CA 92705
                   ___________________________________________________
                   City                                                State       ZIP Code




 Contact phone      949 _____–
                   (______) 427 _________
                                2010                                                                kzilberstein@mghidotti.com
                                                                                              Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                       page 2
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1    Michelle R. Ghidotti-Gonsalves, Esq. (SBN 232837)
     Kristin A. Zilberstein (SBN 47798)
2    LAW OFFICES OF MICHELLE GHIDOTTI
3    1920 Old Tustin Ave.
     Santa Ana, CA 92705
4    Ph: (949) 427-2010
     Fax: (949) 427-2732
5    mghidotti@ghidottilaw.com
6
     Authorized Agent for Creditor
7    U.S. Bank Trust National Association,
     As Trustee Of The Bungalow Series III TRUST
8
9
                              UNITED STATES BANKRUPTCY COURT
10
                         WESTERN DISTRICT OF TEXAS – SAN ANTONIO DIVISION
11
12
13   In Re:                                               )   CASE NO.: 13-53476-cag
                                                          )
14   AARON RENE SALAS and BARBARA                         )   CHAPTER 13
     SPOHIA SALAS,                                        )
15
                                                          )   CERTIFICATE OF SERVICE
16            Debtors.                                    )
                                                          )
17                                                        )
18
19                                    CERTIFICATE OF SERVICE
20
              I am employed in the County of Orange, State of California. I am over the age of
21
22   eighteen and not a party to the within action. My business address is: 1920 Old Tustin Ave.,

23   Santa Ana, CA 92705.
24            I am readily familiar with the business’s practice for collection and processing of
25
     correspondence for mailing with the United States Postal Service; such correspondence would
26
     be deposited with the United States Postal Service the same day of deposit in the ordinary
27
28   course of business.




                                                      1
                                       CERTIFICATE OF SERVICE
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1    On December 24, 2018 I served the following documents described as:
2                  RESPONSE TO NOTICE OF FINAL CURE PAYMENT
3
     on the interested parties in this action by placing a true and correct copy thereof in a sealed
4
     envelope addressed as follows:
5
6    (Via United States Mail)
     Debtor                                              Trustee
7    Aaron Rene Salas                                    Mary K Viegelahn
8    6923 Raintree Path                                  Chapter 13 Trustee
     San Antonio, TX 78233                               10500 Heritage Blvd Suite 201
9                                                        San Antonio, TX 78216
     Joint Debtor
10   Barbara Sophia Salas
11   6923 Raintree Path
     San Antonio, TX 78233
12
     Debtors’ Counsel
13
     J. Todd Malaise
14   909 NE Loop 410, Suite 300
     San Antonio, TX 78209
15
16   _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
     the United States Postal Service by placing them for collection and mailing on that date
17   following ordinary business practices.
18   ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
19   Eastern District of California

20   __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
     America that the foregoing is true and correct.
21
22          Executed on December 24, 2018 at Santa Ana, California

23   /s / Steven P. Swartzell
     Steven P. Swartzell
24
25
26
27
28



                                                     2
                                      CERTIFICATE OF SERVICE
